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                                                                               2021 Jan-25 AM 09:45
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

 DAVID MILLAN,               }
     Plaintiff,              }
                             }
 v.                          }
                             }                 Case No.: 2:19-CV-1131 AMM
 EL    POBLANO      MEXICAN }
 RESTAURANT, INC., and FIDEL }
 CASTRO,                     }
                             }
     Defendants.             }


ORDER SETTING TRIAL, PRETRIAL CONFERENCE, AND PRETRIAL
                       DEADLINES

      This case is SET for jury trial on Monday, May 3, 2021 at 9:00 AM, in

Courtroom 8, Hugo L. Black United States Courthouse, 1729 5th Avenue North,

Birmingham, Alabama, 35203 and a pretrial conference at 11:00 AM by Zoom on

Wednesday, March 3, 2021. The court will provide the Zoom information to the

parties by email. The conference will address the matters outlined in Federal Rule

of Civil Procedure 16, including the issues to be tried, ruling on pending motions,

and settlement possibilities.

      Counsel attending the conference must be well-informed about the factual and

legal issues of the case and have authority to enter appropriate stipulations and

participate in settlement discussions. Such counsel may be required to proceed at

trial notwithstanding the naming of others as designated trial counsel.
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      Promptly upon receipt of this notice, plaintiff’s counsel is DIRECTED to

initiate discussions with other counsel to determine the undisputed facts and to

clarify each party’s contentions.

      On or before February 24, 2021, plaintiff’s counsel is to email to the

chambers email address (manasco_chambers@alnd.uscourts.gov) a JOINT

PROPOSED PRETRIAL ORDER in Word format, with a copy to opposing

counsel. A sample joint proposed pretrial order and its Exhibits A and B are attached

to this order to illustrate the preferred format and required substance of such an order.

The parties should tailor their proposed order to fit the circumstances of their case.

The court anticipates that ordinarily at the end of the pretrial conference, the court

will adopt and sign the proposed order with only minor changes. The court will

incorporate the standard Exhibits A and B to the pretrial order; counsel need not

reproduce those exhibits in their proposed order unless counsel propose changes.

      The court DIRECTS the parties to include the following deadlines in the joint

proposed pretrial order: (1) witness lists shall be filed on or before March 15, 2021;

(2) objections to witness lists shall be filed on or before April 6, 2021; (3) exhibit

lists shall be filed on or before March 15, 2021; (4) objections to exhibit lists shall

be filed on or before April 6, 2021; (5) motions in limine (with proposed orders)

shall be filed on or before March 19, 2021; (6) responses in opposition shall be

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filed on or before March 30, 2021; (7) a joint proposed jury charge and verdict

form shall be filed on or before April 19, 2021; and (8) no later than thirty (30)

calendar days before the date set for trial, the parties shall file and serve a list

itemizing all damages and equitable relief being claimed or sought; such list shall

show the amount requested and, where applicable, the method and basis of

computation. The parties may propose different deadlines only for good cause

shown.

      The court SETS a hearing on all motions in limine for Tuesday, April 6,

2021 at 9:00 AM, Courtroom 4B, Hugo L. Black, United States Courthouse,

Birmingham, Alabama.

      The objective is to produce the highest quality of justice in the shortest time

and at the lowest cost. If the indicated pretrial procedure frustrates this objective or

creates problems, counsel are encouraged to confer with one another and contact the

court with suggested alternative procedures.

      DONE and ORDERED this 25th day of January, 2021.



                                     _________________________________
                                     ANNA M. MANASCO
                                     UNITED STATES DISTRICT JUDGE




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                   SAMPLE PROPOSED PRETRIAL ORDER

                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                           [Name of Division] DIVISION

[Name of the Plaintiff(s)],                  )
                                             )
      Plaintiff(s),                          )
                                             )
v.                                           )   Case No.: [Case Number]
                                             )
[Name of the Defendant(s)],                  )
                                             )
      Defendant(s).                          )


                                PRETRIAL ORDER

      A pretrial conference was held in the above case on [Date], wherein, or as a

result of which, the following proceedings were held and actions were taken:

      1.     Appearances. Appearing at the conference were:

             For [Enter Plaintiff(s)]:_________________________________

             For [Enter Defendant(s)]:_______________________________

[Include a line for each party in the case, unless the same counsel represents all
parties on a particular side.]

      2.     Nature of the Action, Jurisdiction and Venue.

             (a)      The nature of this action is as follows: [For example,
                      employment discrimination, Fair Labor Standard Act, breach
                      of contract, etc.]
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                 (b)     The court has subject matter jurisdiction of this action under the
                         following statutes, rules, or cases: [List each statute, rule or case
                         claimed to authorize the court’s subject matter jurisdiction in
                         this action.]

                 (c)     All jurisdictional and procedural requirements prerequisite to
                         maintaining this action [have/have not] been met.

                 (d)     Personal jurisdiction and/or venue [are/are not] contested.

[If personal jurisdiction or venue is contested, briefly set out the relevant
arguments.]

       3.        Parties and Trial Counsel. Any remaining fictitious parties are hereby

STRICKEN. The parties and designated trial counsel are correctly named as set out

below:

                                    Parties:                        Trial Counsel:
 Plaintiff(s):         [Name of the Plaintiff(s)]          [Name of Counsel]
                       [Name of the Plaintiff(s)]          Same Counsel
 Defendant(s): [Name of the Defendant(s)]                  [Name of Counsel]
                       [Name of the Defendant(s)]          Same Counsel

[Include a line and designation for each party in the case.]

       4.        Pleadings. The following pleadings have been allowed:

[List pleadings in the order in which they were filed and allowed. Do not include
pleadings that have been stricken or otherwise disallowed. See Fed. R. Civ. P. 7(a)
for a list of allowable pleadings.]

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      5.     Statement of the Case.

             (a)   Narrative Statement of the Case.

[The summary must be concise and appropriate for the court to use in advising
the jury of the basic nature of the case during voir dire.]

             (b)    Undisputed Facts.

[The parties shall set out in separately numbered paragraphs each fact that is not
in dispute. The parties are reminded that the court, in an effort to reduce the need
for evidence at and length of the trial, expects them to approach this task in a good
faith effort to agree on all relevant facts for which there is no reasonable basis for
disagreement. In a jury trial, this section will be read to the jury and the jury will
be instructed to accept these facts as true.]

             (c)    Plaintiff’s Claims.

[For each defendant, each Plaintiff shall concisely state each legal theory relied
upon and shall set out the factual allegations which he or she expects to prove in
support of each theory. Vague, conclusory, and general claims and allegations are
not acceptable. By this stage of the proceedings, Plaintiff is expected to know what
the claims are and must state precisely the issues expected to be tried. Each claim
must be set out in a separately numbered paragraph, appropriately labeled. Under
each claim, each Plaintiff shall list any citations to the major cases, statutes, etc.
that support his or her legal theory.]

             (d)   Defendant’s Defenses.

[For each claim against him or her, each defendant shall concisely state each legal
theory relied upon and shall set out the factual allegations that he or she expects
to prove in support of each legal theory. Vague, conclusory, and general claims
and allegations are not acceptable. By this stage of the proceedings, Defendant is
expected to know what the defenses are and must state precisely the issues
expected to be tried. Each defense must be set out in a separately numbered
paragraph, appropriately labeled. Under each defense, each Defendant shall list
any citations to the major cases, statutes, etc. that support his or her theory.]
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      6.    Discovery and Other Pretrial Procedures.

            (a)   Pretrial Discovery. [Submit only one of the below.]

                  i. Pursuant to previously entered orders of the court, discovery
                     is closed.

                  ii. The parties are given leave to proceed with further discovery
                      provided it is commenced in time to be completed by [date].

            (b)   Pending Motions.

[List all pending motions or state that there are no motions pending. Motions
should be listed in separately numbered paragraphs, leaving sufficient space for
the court to indicate its rulings below each listed motion.]

            (c)   Deadlines.

                  i. Witness lists shall be filed on or before [date].
                  ii. Objections to witness lists shall be filed on or before [date].
                  iii. Exhibit lists shall be filed on or before [date].

                  iv. Objections to exhibit lists shall be filed on or before [date].

                  v. Motions in limine shall be filed on or before [date].
                  vi. Responses to motions in limine shall be filed on or before
                      [date].
                  vii. A joint proposed jury charge and verdict form shall be filed
                      on or before [date]. If the parties have agreed on questions
                      that they would like for the court to consider asking during
                      voir dire, the parties should include those questions in this
                      filing.


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                     viii. No later than thirty (30) calendar days before the date set for
                         trial, the parties shall file and serve a list itemizing all
                         damages and equitable relief being claimed or sought; such
                         list shall show the amount requested and, where applicable,
                         the method and basis of computation.

       7.     Trial Date.

              (a)    This case is set for [Jury/Non-Jury] trial on [date].

              (b)    The trial of this matter is expected to last [number] days.

       8.     The parties are to read and comply fully with each provision contained

in Exhibits A and B to this order, which are incorporated into this order by reference

as if fully set forth herein.

       The court ORDERS that the above provisions be binding on all parties unless

modified for good cause shown.

       DONE and ORDERED this __________ day of ____________, 20_____.


                                         ___________________________________
                                         ANNA M. MANASCO
                                         UNITED STATES DISTRICT JUDGE




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            EXHIBIT A – STANDARD PRETRIAL PROCEDURES

1.    Damages. No later than thirty (30) calendar days before the date set for trial,
      the parties shall file and serve a list itemizing all damages and equitable relief
      being claimed or sought; such list shall show the amount requested and, where
      applicable, the method and basis of computation.

2.    Witnesses.

       The parties shall file witness lists on or before the date specified in the pretrial
order. If a witness shown on the list will be presented by deposition, the party
designating that witness must specify the pages of the deposition to be used.
Objections to witness lists must be filed on or before the date specified in the pretrial
order.

       Unless specifically agreed by the parties in writing or allowed by the court for
good cause shown, the parties shall be precluded from offering substantive evidence
through any witness not included on the party’s witness list. The listing of a witness
does not commit the party to have that witness available at trial or to call that witness
to testify, but it does preclude the party from objecting to the presentation of that
witness’s testimony by another party.

      As to any witnesses shown on the list to be presented by deposition, an
opposing party may serve a list of additional pages of the deposition to be used, and
may serve and file a list disclosing any objections to the use of the deposition
testimony under Federal Rules of Civil Procedure 32 or 26(a)(3)(B). Any objections
to deposition testimony should be accompanied by excerpts from the depositions
including the testimony to which the objection relates and must be filed with
objections to the witness list.

       Objections to the witness list not made within the time specified in the pretrial
order, other than objections under Federal Rules of Evidence 402 and 403, shall be
deemed waived, unless such failure to timely object is excused by the court for good
cause shown.

3.    Exhibits.

       The parties shall file exhibit lists on or before the date specified in the pretrial
order. Objections to exhibit lists must be filed on or before the date specified in the
pretrial order.
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(a)   Marking. Each party that anticipates offering more than five (5)
      exhibits as substantive evidence shall premark the exhibits in advance
      of trial, using exhibit labels and lists available from the Clerk of Court.
      The court will provide up to 100 labels; if any party needs more labels,
      that party must use labels of the same type as those supplied by the
      court. Counsel must contact the courtroom deputy for the appropriate
      exhibit list form for use at trial. The court urges counsel to be judicious
      in determining which documents are actually relevant to necessary
      elements of the case.

(b)   Examination by Opposing Party. Except where beyond the party’s
      control or otherwise impractical (e.g., records from an independent
      third-party being obtained by subpoena), each party shall make exhibits
      available for inspection and copying. The presentation of evidence at
      trial ordinarily will not be interrupted for opposing counsel to examine
      a document that has been identified and was made available for
      inspection.

(c)   Court’s Copies. In addition to the premarked trial exhibits mentioned
      above, the court requests for the bench an exhibit notebook of
      anticipated trial exhibits. The notebook should include a copy of the
      Exhibit List. The parties shall also email a courtesy copy of the exhibit
      notebook       to     the      chamber’s       email      address      at
      manasco_chambers@alnd.uscourts.gov.

(d)   Limiting Personal Information in Transcripts and Exhibits. The
      judiciary’s privacy policy restricts the publication of certain personal
      data in documents filed with the court. The policy requires limiting
      Social Security and financial account numbers to the last four digits,
      using only initials for the names of minor children, and limiting dates
      of birth to the year. However, if such information is elicited during
      testimony or other court proceedings, it may become available to the
      public. The better practice is for you to avoid introducing this
      information into the record in the first place. Please take this into
      account when questioning witnesses, presenting documents, or making
      other statements in court. If a restricted item is mentioned in court, you
      may ask to have it stricken from the record or partially redacted to
      conform to the privacy policy, or the court may do so on its own motion.


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      (e)    Objections. Objections to the exhibit list not made within the time
             specified in the pretrial order, other than objections under Federal Rules
             of Evidence 402 and 403, shall be deemed waived, unless such failure
             to timely object is excused by the court for good cause shown.

4.    Failure to Disclose.

      THE PARTIES ARE REMINDED THAT THEY WILL NOT BE
ALLOWED TO USE AT TRIAL ANY WITNESS OR EXHIBIT NOT
DISCLOSED IN ACCORDANCE WITH FEDERAL RULES OF CIVIL
PROCEDURE 26(a) OR 26(e), UNLESS THE FAILURE WAS
SUBSTANTIALLY JUSTIFIED OR THE OFFERING PARTY CAN SHOW
THAT ITS FAILURE TO DISCLOSE WAS HARMLESS. See Fed. R. Civ. P.
37(c)(1).

5.    Motions In Limine.

       Motions in limine must be filed on or before the date specified in the pretrial
order. Supporting arguments and legal authorities should be included in the motion
rather than filed as separate memoranda. Counsel must indicate whether each motion
is opposed. Parties are encouraged to resolve evidentiary issues by stipulation
whenever possible. Responses in opposition to the motions in limine must be filed
on or before the date specified in the pretrial order. Counsel are reminded that under
the Initial Order, motions in limine should include a proposed order.

       The parties must provide the court with a courtesy copy of each motion in
limine and each response to a motion in limine, including exhibits. These materials
should be double-sided. Each page must be three-hole punched and securely bound
in a three-ring binder or a large clip, with tabs separating each exhibit. Courtesy
copies should reflect the CM/ECF case number, document number, date, and page
stamp on each page.

6.    Use of Depositions at Trial.

      (a)    The court will accept the parties’ written agreement to use a deposition
             at trial even though the witness is available. In the absence of such an
             agreement, parties must comply with Federal Rule of Civil Procedure
             32.



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      (b)    Before trial, counsel must provide the courtroom deputy with a copy of
             all depositions to be used as exhibits at trial.

      (c)    Counsel will designate the portion of any deposition that counsel
             anticipates reading by citing pages and lines in the final witness list.
             Objections, if any, to those portions (citing pages and lines) with
             supporting authority must be filed with objections to the witness list.

      (d)    Use of videotape depositions is permitted and the parties must make
             good faith efforts to agree on admissibility or edit the videotape to
             resolve objections.

      (e)    In a non-jury trial, for any deposition offered as a trial exhibit, counsel
             shall attach to the front of the exhibit a summary of what each party
             intends to prove by the deposition testimony, with line and page
             citations, and include an appropriate concordance of the deposition
             pages offered.

7.    Trial Submissions to Court.

       The court does not request trial briefs, but any party may file a trial brief. The
decision not to file a trial brief will not prejudice a party in any way. If a party
chooses to file a trial brief, it is limited to ten pages, footnotes are not allowed, and
it must be filed no later than ten days before the trial date. Responsive trial briefs
will not be allowed. Parties are encouraged to file trial briefs only if there is a legal
issue to which they would like to draw the court’s attention. Trial briefs that recite
alleged facts or rehash motions in limine will not be helpful to the court.

8.    Jury Charges, Verdict Form, and Voir Dire.

      On or before the date specified in the pretrial order, the parties shall file a
single, joint proposed jury charge that includes all necessary instructions.

      (a)    Each requested instruction must be numbered and presented on a
             separate sheet of paper with authority cited.

      (b)    Counsel must include all necessary instructions or definitions,
             particularly: (1) the prima facie elements of each cause of action and
             defense asserted; (2) legal definitions required to be given to the jury;
             (3) elements of damages; and (4) methods of calculation of damages.
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(c)   Counsel must use the Eleventh Circuit Pattern Jury Instructions, or
      appropriate state pattern jury instructions, as modified by case law or
      statutory amendments, wherever possible. Any deviations must be
      identified and accompanied with legal authorities for the proposed
      deviation.
(d)   If the parties cannot agree on all instructions, definitions or questions,
      the parties should nonetheless submit a single, unified charge. Each
      disputed instruction, definition, or question should be set out in bold
      type, underlined or italics and identified as disputed. Each disputed item
      should be labeled to show which party is requesting the disputed
      language. Each instruction shall include all authority or related
      materials upon which each party relies.

(e)   Together with the joint proposed jury charge, the parties must file a
      joint proposed verdict form. If the parties are unable to agree on a
      joint proposed verdict form, they may file separate forms. The court
      expects that shortly after the close of evidence, the parties will submit
      any amendments to the proposed jury charge and verdict form required
      by the evidence presented at trial.

(f)   The parties shall email the joint or unified proposed charge and the joint
      proposed verdict form in Word format, to the chamber’s email address
      at manasco_chambers@alnd.uscourts.gov.

(g)   If the parties have agreed on questions that they would like for the court
      to consider asking during voir dire, the parties should include those
      questions in the filing and email submission of their proposed jury
      instructions and verdict form.




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            EXHIBIT B – GUIDELINES FOR CONDUCT OF TRIALS

      These guidelines reflect the standard practices of this court in the trial of
cases. They do not alter the rules of civil or criminal procedure, the rules of
evidence, or local rules.

1.    Hours. Trials ordinarily commence at 9:00 a.m. and continue until
approximately 5:00 p.m., Mondays through Fridays.

      (a)     Punctuality. You, your client, and your witnesses should be present
              and ready to proceed promptly at the appointed time, both at the
              beginning of the day and after recesses. Counsel should be present at
              the courthouse at least 30 minutes before the beginning of each trial day
              to avoid delays and to be available to discuss unanticipated problems.
      (b)     Recesses. A witness whose examination has not been completed at the
              time of a recess or adjournment should be back in the witness box at
              the time trial is scheduled to resume.
      (c)     Requests for changes. Make known to the court as soon as can be
              anticipated any requests for changes in the trial schedule, including
              those relating to religious holidays or arising because of unavailability
              of witnesses.
      (d)     Conferences. In jury cases, the judge may hold a brief conference in
              chambers at the end of the trial day or before the trial commences or
              resumes, or both, at which time counsel can discuss the schedule of
              witnesses and documents and any anticipated evidentiary problems.
              Alert the court reporter if you want to have some motion, argument,
              proffer, or other matter placed on the record during the conference.

      (e)     Settlement discussions. Although settlements should occur to the
              extent possible before the trial is scheduled to begin, counsel are
              encouraged to discuss settlement as the trial progresses. These
              discussions should ordinarily be conducted during recesses and
              adjournments. The court will not delay the start or resumption of trial
              for such discussions. Advise the court if at any point you believe the
              court’s assistance might be helpful in arriving at a settlement.




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2.    Selection of jury.

      (a)   Voir Dire. The court will conduct voir dire. Once all questions have
            been asked, the court will allow the attorneys time to ask questions, but
            those questions will be limited to follow-up questions concerning
            inquiries made by the court. If the parties have questions that they agree
            that they would like for the court to ask during voir dire, they are
            encouraged to submit those with their joint proposed jury instructions
            and verdict form.

      (b)   Size. The size of the jury in civil trials ranges from six to twelve, with
            alternates to be set by the judge, taking into account such factors as the
            expected length of trial and the number of jurors available for that and
            other scheduled trials. Absent special agreement by the parties, only a
            unanimous verdict of all selected jurors not excused or discharged for
            good cause may be received.
      (c)   Peremptory challenges. The number of peremptory challenges to be
            allowed will depend upon (1) the number of jurors not excused or
            challenged for cause and (2) the size of the jury to be selected. For
            example, if 18 jurors remain after any challenges for cause, the court
            might allow each side five peremptory challenges to select a jury of 8
            or might allow each side four peremptory challenges to select a jury of
            10. Peremptory challenges are exercised by indicating on a form
            (provided by the court) the name and juror number of the person(s) so
            challenged. When completed, these forms are shown to the court and
            opposing counsel at the bench, outside the hearing of the panel; at this
            time, the court can consider any Batson issues. Subject to consideration
            of any Batson issues, the peremptory challenges shown on the lists will
            be accepted by the court. Jurors not peremptorily challenged by either
            side will, in the order in which they were presented, be deemed as
            selected, up to the number of jurors previously determined by the court.
            As an example, for a jury of 8, the first 8 jurors not peremptorily
            challenged by either side will constitute the jury.

3.    Opening statements. Unless otherwise allowed by the court, opening
statements are limited to 20 minutes per party. Although a description of the basic
claims and defenses and of the principal factual disputes between the parties is
usually helpful, do not be argumentative and do not in jury cases refer to disputes

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about questions of law. In non-jury cases, opening statements are frequently limited
to stating what claims and defenses are being pursued and what witnesses will be
called.

4.     Witnesses. Cooperative witnesses not immediately needed should, to the
extent practical, be placed “on call.” However, you remain responsible for having
sufficient witnesses available in court so that, absent developments that could not
have been reasonably anticipated, the trial may proceed during the normal trial hours
without the need for adjournments or lengthy recesses to obtain further witnesses.
Since defendants should be ready to proceed with their evidence promptly at the
conclusion of the plaintiff’s presentation, plaintiff’s counsel should keep defendant’s
counsel advised as to when they expect to complete their presentation of evidence.

      (a)    Order. Counsel are expected to cooperate in resolving scheduling
             problems, including agreement in most circumstances for a witness to
             be called out of the normal order, even if the testimony of another
             witness is interrupted. Such accommodations are the norm for
             physicians and other similar professionals called as witnesses and may
             be appropriate for other witnesses with personal, family, or
             occupational conflicts. Counsel are also expected to cooperate in
             placing “on call” those employees of another party whose absence
             would disrupt such party’s normal business activities.
      (b)    Production. Do not ask opposing counsel to produce a witness or a
             document in a way that might suggest to the jury that such counsel
             would be concealing evidence if the witness or document is not
             produced. Address such requests to opposing counsel (or, if necessary,
             to the court) in a manner that will not be heard by the jury.
      (c)    Oaths. The courtroom deputy ordinarily administers an
             oath/affirmation to the witnesses and immediately asks their name and
             place of residence. If you know that the standard questions might be
             inappropriate (for example, the witness is in prison), so advise the
             deputy before the witness is called to the stand.

      (d)    Release. Witnesses should be released from further attendance or
             subpoena as soon as they are no longer needed. After testifying, a
             witness shall be deemed as released by consent unless counsel or the
             court indicates that the witness should not be so excused. You should
             not consent to release of a witness if you will later offer in evidence a
             prior inconsistent statement about which the witness was not examined

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             or if you wish to make a proffer of testimony of that witness to which
             an objection was sustained.

      (e)    Exclusion. Requests under Federal Rule of Evidence 615 for exclusion
             of witnesses from the courtroom should be made before examination of
             the first witness begins, preferably before opening statements. Be alert
             for witnesses arriving during trial and inadvertently coming into the
             courtroom. Although the Rule does not prevent talking with excluded
             witnesses during recesses about their expected testimony, do not in such
             discussions disclose the courtroom testimony given by other witnesses.
             After testifying and provided they will not be recalled, witnesses are no
             longer subject to the Rule and may remain in the courtroom.

5.    Examination of witnesses. Absent physical disabilities, examination of a
witness should ordinarily be conducted while the witness is seated in the witness box
and counsel is standing at the lectern.

      (a)    Approaching clerk’s desk or witness box. Permission of the court to
             approach the clerk’s desk or the witness box is not necessary if for the
             purposes of submitting or obtaining an exhibit, handing an exhibit to
             the witness, or conducting examination about an exhibit when counsel
             needs to be next to the witness during the examination. Return to the
             lectern after such examination is finished.
      (b)    Other locations. Request permission of the court if you wish the
             witness to step from the witness box (for example, to display an injury,
             to prepare a sketch, or to identify objects in a photograph). Assist the
             court in assuring that your voice and that of the witness are sufficiently
             loud to be heard and that opposing counsel’s view is not obstructed.

      (c)    Depositions. As you use or read from a deposition, indicate the page
             and line number of the starting and stopping points. Colloquies and
             objections of counsel should ordinarily be omitted, as should questions
             that are rephrased or changed prior to the answer being given. When
             the deposition refers to an exhibit, counsel may, in addition to the
             identification used in the deposition, indicate the exhibit number used
             during the trial. Persons asked to read the deponent’s testimony should
             do so fairly and impartially. Depositions are not ordinarily read aloud
             in non-jury cases; you should submit to the court well before the trial is
             completed a list of the portions you want the court to read.


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      (d)    Harassment. Treat witnesses with courtesy, even when conducting
             vigorous impeachment. Do not shout at, ridicule, harass, or unfairly
             embarrass a witness. Use temperate language when requesting the
             court’s assistance to control or direct a witness who is giving
             unresponsive or argumentative answers.

6.    Objections. Rise before (or as) you object; this draws the attention of the court
and other counsel to you and should alert the witness not to answer until your
objection is ruled upon. While standing, state that you are objecting and specify
concisely the ground(s) of your objection (for example, “hearsay,” “irrelevant,”
“lack of personal knowledge,” “leading question”). Do not make a speech or
argument to the jury. Do not disparage opposing counsel or the witness. Do not
attempt to summarize other evidence. Do not suggest an answer to the witness.

      (a)    Response by offeror. The person who asked the question should not
             interrupt the person making the objection except to withdraw the
             question or if the objection itself is being made in an improper manner
             (for example, as an argument to the jury or to suggest an answer to
             the witness). After the objection has been stated, you may indicate if
             the evidence is being offered only for a limited purpose or only against
             certain parties.
      (b)    Argument on the objection. Neither counsel should present arguments
             regarding the objection unless authorized or invited by the court. If you
             wish to be heard in argument, request the court’s permission.

      (c)    Continuing objection. In some circumstances you may be allowed to
             have a “continuing objection” to a particular line of inquiry, and
             therefore, you may not have to repeat your objection to a series of
             questions. Typically, this occurs when your objection on the grounds of
             relevancy is overruled and you wish to make a relevancy objection to
             further questions on the same subject.
      (d)    Anticipating evidentiary problems. Evidentiary questions which may
             involve extended discussion and argument should be anticipated and
             called to the court’s attention at the start or end of the trial day so that
             the question can be adequately considered without having to interrupt
             the trial schedule.
7.    Special equipment. Audio-visual equipment should be brought into the
courtroom and tested before or after trial hours or during a recess. You are
responsible for seeing that the trial is not substantially delayed while such equipment
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is being set up. Make arrangements with the courtroom deputy if you need special
access to the courtroom.

8.     Closing arguments. Unless otherwise allowed by the court, closing
arguments are limited to 30 minutes per side. Counsel for the party having the burden
of proof shall be the first to present closing argument and may reserve a portion of
the allotted time (not in excess of initial time taken) to respond to the other parties’
arguments. A party seeking damages and who is permitted to divide its time of
argument should address both liability and damages issues in its initial argument.
Do not express your own personal opinions about the facts. Do not invite jurors to
return a verdict as if they were in the position of one of the parties. You may leave
the lectern, but keep your voice sufficiently loud to be heard by other counsel, the
judge, and the court reporter.

9.     Instructions. Persons are not ordinarily permitted to enter or leave the
courtroom during the time the court is instructing the jury. The court will provide
counsel with an opportunity to present objections or exceptions to the instructions
outside the hearing of the jury and before the deliberations begin either at the bench
or after excusing the jurors from the courtroom. Counsel are expected to remain in
general attendance at the courthouse while the jury is deliberating; the failure to do
so may be treated as a waiver of any right to object should the jury request and be
given supplemental instructions. If counsel absolutely must leave the courthouse,
they should provide a contact number, to be reached at a moment’s notice, to the
courtroom deputy.

10.   Other Matters of Proper Decorum and Conduct.

      (a)    Do not argue with or disparage other counsel in the hearing of the jury.
             In most situations, the court’s permission should be obtained before
             counsel engage in dialogue between themselves in the courtroom. Side
             comments between counsel should be limited to situations in which
             such conversations are intended to facilitate the fair and efficient
             conduct of the trial and not for any tactical advantage; they should,
             moreover, be done in a respectful and courteous manner that does not
             detract from the dignity of the proceedings. In-court offers to stipulate
             should ordinarily be made only if previously agreed upon or if counsel
             has reason to believe the offer would have been accepted if made
             outside the courtroom.

      (b)    All should rise and remain standing and quiet while court is being

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      formally opened. All should rise when the jury enters and exits the
      courtroom. Counsel should rise and remain standing while examining
      a witness, making an objection, presenting a motion, request, or
      argument, or otherwise addressing the court. At other times while court
      is in session, remain seated.
(c)   Address or refer to witnesses or other parties using their surname.

(d)   While opposing counsel is presenting a matter to the court or the jury
      or is examining a witness, other counsel and their clients or associates
      should not engage in conversation or activity at counsel table or
      otherwise move about the courtroom in a manner that might be
      distracting.
(e)   Indicating agreement and disagreement. No one should by words,
      facial expressions, or other conduct indicate personal agreement or
      disagreement with what is being said by the court, the jury, an attorney,
      or a witness. Counsel are responsible for assuring that their clients and
      the friends or supporters of their clients are warned about such behavior.
(f)   Attendance. Parties are not required to remain in continuous
      attendance during civil trials. To facilitate arranging for the attendance
      of witnesses and procuring documents, attorneys may, without need for
      permission from the court, enter and leave the courtroom during the
      trial from time to time if their client remains represented by co-counsel.
      Such movements should, however, be done in an unobtrusive and non-
      distracting manner. Paralegals not expected to testify may, without the
      need for special permission from the court, be inside the railing to assist
      counsel.
(g)   Findings under Federal Rule of Evidence 104(a). Do not disclose to
      the jury in any manner the findings of the court made under Federal
      Rule of Evidence 104(a) in connection with questions of admissibility.
      For example, do not argue to the jury that you were allowed to present
      evidence of A’s statement because the court found under Federal Rule
      of Evidence 801(d)(2)(E) that A and B were engaged in a conspiracy.
      Similarly, do not ask in the presence of the jury for the court to
      “recognize” a witness as an “expert” or as “hostile.”
(h)   Smoking, eating, and drinking. Smoking, eating, and drinking (other
      than water or coffee in a cup with a lid) are never permitted in the

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      courtrooms.

(i)   Cellular telephones; recording devices. Keep cellular telephones in
      an “off” position while in the courtroom. Recording devices may be
      used in the courthouse only with express permission of the court.




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